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                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
                              CLARKSBURG DIVISION


  REGENERON PHARMACEUTICALS, INC.,
                                                           Case No. 1:22-cv-00061-TSK
                 Plaintiff,
         v.                                                JURY TRIAL DEMANDED

  MYLAN PHARMACEUTICALS INC.,

                 Defendant.


                                     SCHEDULING ORDER

        On September 28, 2022, this Court held a Scheduling Conference in the above-styled

 matter. Pursuant to Federal Rules of Civil Procedure 16(b) and 26(f), and the Local Rules of

 Civil Procedure, it is hereby ORDERED that the below listed dates be adopted:

                                                                           DATE
  Regeneron identifies 6 patents from 3 patent
  families for initial proceedings. All deadlines herein
  apply only to those patents.
  Regeneron stipulates that it will not seek injunctive             3 days after this Order
  relief on the other 18 patents asserted in its
  Complaint (ECF 1) with respect to the United States
  marketing or sales of Mylan’s current aBLA Product
  (BLA No. 761274)
  Submission of Protective Order or Disagreements
                                                                     November 1, 2022
  concerning same
  Markman: exchange of proposed terms for
                                                                     November 3, 2022
  construction
  Markman: exchange of preliminary constructions
                                                                     November 10, 2022
  and intrinsic support
  Markman: File joint claim construction chart
  The parties may identify no more than 12 claim                     November 17, 2022
  terms for construction (6 per side)

  Markman: file positions regarding word limits                      November 17, 2022




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  Markman: parties file joint opening claim
                                                                      November 29, 2022
  construction briefs
  Markman: parties file joint responsive claim
                                                                       December 15, 2022
  construction briefs
  Substantial completion of document production                        December 7, 2022
  Markman hearing                                                 January 6, 2023 (10:00 a.m.)
  Deadline to amend pleadings                                          December 9, 2022
  Parties serve final infringement and invalidity
                                                                        January 12, 2023
  contentions
  Close of Fact Discovery                                               January 18, 2023
                                                             7 days after Markman order or 7 days
  Regeneron narrows initial proceedings to 3 patents
                                                            after close of fact discovery, whichever
  and 25 claims
                                                                              is later
  Opening Expert Reports on Issues for Which the
                                                                        February 2, 2023
  Party Bears the Burden of Proof
  Responsive/Rebuttal Expert Reports                                     March 2, 2023
  Reply Expert Reports                                                   March 30, 2023
  Motions for Summary Judgment (if any)                                  April 20, 2023
  Responses to Motions for Summary Judgment (if
                                                                          May 4, 2023
  any)
  Replies to Responses to Motions for Summary
                                                                          May 11, 2023
  Judgment (if any)
  Close of Expert Discovery                                              April 20, 2023
  Motions in Limine and Daubert Motions                                   May 11, 2023
  Responses to Motions in Limine and Daubert
                                                                          May 18, 2023
  Motions
  Joint Stipulation of Facts                                              May 18, 2023
  Proposed Joint Pretrial Order, L.R. Civ. P. 16.04(b)                    May 18, 2023
  Final Pretrial and Settlement Conference                         May 30, 2023 (10:00 a.m.)
  Trial                                                                 June 12-23, 2023

          It is so ORDERED.

          The Clerk is directed to transmit copies of this Order to all counsel of record herein.

          DATED: October 25, 2022


                                                THOMAS S. KLEEH, CHIEF JUDGE
                                                NORTHERN DISTRICT OF WEST VIRGINIA


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